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9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                     )       No. CR 05 00284 SI
                                                   )
13           Plaintiff,                            )       [PROPOSED] ORDER EXCLUDING
                                                   )       TIME FROM THE SPEEDY TRIAL ACT
14      v.                                         )       CALCULATION (18 U.S.C. §
                                                   )       3161(h)(8)(A)) FROM FEBRUARY 17,
15   AKRAM SABAR CHAUDHRY,                         )       2006 TO MARCH 24, 2006
       a.k.a. Akram Sabar, and                     )
16   MOHAMMAD ADIL                                 )
       a.k.a. Adil Mohammad,                       )
17                                                 )
             Defendants.                           )
18                                                 )
                                                   )
19
20           On February 17, 2006, the United States and defendants Akram Chaudhry and
21   Mohammad Adil through their respective attorneys Steven F. Gruel and Marc Axelbaum
22   stipulated in open court, and the Court so orders, that the time period between February 17, 2006
23   and March 24, 2006 shall be excluded from the calculation of time in which the trial of the
24   captioned matter must commence pursuant to the Speedy Trial Act. This period of time is
25   excluded pursuant to 18 U.S.C. 3161(h)(8)(A) to permit the parties sufficient time to prepare
26   effectively for trial in light of discovery and continuity of counsel. The parties agree and the
27   Court finds that the ends of justice served by the exclusion of time outweigh the best interest of
28   the public and the defendants in a speedy trial, all pursuant to 18 U.S.C. 3161(h)(8)(A).
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1       Accordingly, with the agreement of the parties and upon the findings above, the Court enters
2    this order scheduling a trial setting appearance or motions hearing on March 24, 2006 and
3    excludes the intervening period of time between February 17, 2006 to March 24, 2006.
4
5    DATED: February 23, 2006                            Respectfully Submitted
6                                                        KEVIN V. RYAN
                                                         United States Attorney
7
8                                                                   /S/
                                                         BLAKE D. STAMM
9                                                        Assistant United States Attorney
10
     SO ORDERED.
11
12
     DATED: ______________                _______________________________
13                                        HON. SUSAN ILLSTON
                                          United States District Judge
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